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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :      Crim. No. 1:21-cr-00034-CRC
                                              :
THOMAS ROBERTSON                              :
                                              :
                                              :
                       Defendant.             :

      UNITED STATES’ SECOND SUPPLEMENTAL BRIEF IN SUPPORT OF ITS
                  MOTION TO REVOKE RELEASE ORDER

       The United States submits this second supplemental brief to bring to the Court’s attention

additional information that is highly relevant to the pending motion to revoke the Defendant’s

conditions of release. As noted in our previous filing, ECF No. 34, law enforcement continues to

review the items seized from the home of Defendant Thomas Robertson on June 29, 2021.

Attached is an FBI laboratory report received by the undersigned this morning concluding that the

Defendant possessed components that could be used to readily assemble an improvised explosive

device (IED), despite being ordered not to possess a firearm, destructive device, or other dangerous

weapon.



                                              Respectfully submitted,

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                                      By:     /s/Elizabeth Aloi
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